                  Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 1 of 32



                                                           The GEO Group, Inc., GEO Reentry Services, LLC.,
      Mutatie Johnson                                      GEO Corrections and Detentions and Community Education Centers,
                                        Philadelphia       Inc.                                 Palm Beach




Kevin V. Mincey, Esquire, 1650 Market Street, 36th Floor   Matthew H. Fry, Esquire, 21 West Front Street, Media PA 19063
Philadelphia, PA 19103 215-587-0006                        610-565-5700


                                                                          X

                    X                                                                                               X




                   X




            X


                        28 U.S.C. Section 1332
                        Civil Rights Violation
   Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 2 of 32




        Mutatie Johnson


     The GEO Group, Inc., et al




                                                                                  X


June 7, 2022              Matthew H. Fry, Esquire   The GEO Group, Inc., et al.


610-565-5700                   610-892-0652           mfry@dioriosereni.com
Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 3 of 32
         Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 4 of 32




                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
______________________________________________________________________________

MUTATIE JOHNSON                              :
Philadelphia, PA                             :
                         Plaintiff,          :
                                             :   No.:
v.                                           :
                                             :
THE GEO GROUP, INC.                          :
621 NW 53rd Street, Suite 700                :   NOTICE OF REMOVAL
Boca Raton, FL 33487                         :
                                             :
        and                                  :
                                             :
GEO REENTRY SERVICES, LLC                    :
621 NW 53rd Street, Suite 700                :
Boca Raton, FL 33487                         :
                                             :
       and                                   :
                                             :
GEO CORRECTIONS AND                          :
DETENTIONS, LLC                              :
621 NW 53rd Street, Suite 700                :
Boca Raton, FL 33487                         :
                                             :
        and                                  :
                                             :
GEO CORRECTIONAL HOLDINGS, INC.              :
4955 Technology Way                          :
Boca Raton, FL 33431                         :
                                             :
        and                                  :
                                             :
                                             :
COMMUNITY EDUCATION CENTERS,                 :
INC.                                         :
4955 Technology Way                          :
Boca Raton, FL 33431                         :
                                             :
      and                                    :
         Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 5 of 32




JOHN DOE CORRECTIONAL                        :
OFFICERS                                     :
500 Cheyney Road                             :
Chester Heights, PA                          :
                          Defendants.        :
______________________________________________________________________________

TO:    THE UNITED STATES DISTRICT COURT FOR
       THE EASTERN DISTRICT OF PENNSYLVANIA:

       Defendants, The GEO Group, Inc., GEO Reentry Services, LLC., GEO Corrections and

Detentions and Community Education Centers, Inc. by and through its attorneys, Robert M.

DiOrio and Matthew H. Fry, give notice of removal of the above-captioned action from the

Court of Common Pleas of Philadelphia County, Pennsylvania, in which this action is now

pending, to the United States District Court for the Eastern District of Pennsylvania, pursuant to

28 U.S.C. §§1332, 1441, and 1446, and in support thereof aver as follows:

       1.      Plaintiff commenced this civil action by filing a complaint on March 11, 2022,

sounding in state law claims for assault, battery, and intentional infliction of emotional distress

arising from an incident that allegedly occurred on March 13, 2020. A true and correct copy of

the Plaintiff’s Complaint is attached as Exhibit “A”.

       2.      Defendants were served with the Complaint on May 9, 2022, and Defendants

have filed this Notice of Removal with 30 days of first receipt of the Complaint, and thus this

removal is timely pursuant to 28 U.S.C. §1441(e). A true and correct copy of the docket entries

from the action filed in Philadelphia County Court of Common Pleas is attached hereto as

Exhibit “B”.

       3.      Plaintiff, Mutatie Johnson, upon information and belief, is a citizen of

Pennsylvania for purposes of 28 U.S.C. §1332.




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         Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 6 of 32




       4.       Defendant The GEO Group, Inc., is a Florida corporation with a principal place of

business at 4955 Technology Way, Boca Raton, FL 33431and is thus a citizen of Florida for the

purposes of 28 U.S.C. §1332.

       5.       Defendant Community Education Centers, Inc., is a Delaware corporation with a

principal place of business at 4955 Technology Way, Boca Raton, FL 33431 and is thus a citizen

of Florida for the purposes of 28 U.S.C. §1332.

       6.       Defendant GEO Reentry Services, LLC., is a Florida limited liability company

with a principal place of business at 4955 Technology Way, Boca Raton, FL 33431and is thus a

citizen of Florida for the purposes of 28 U.S.C. §1332.

       7.       Defendant, GEO Reentry Services, LLC has two members, GEO Operations, Inc.

and GEO Corrections Holdings, Inc.

       8.       Member GEO Operations, Inc. is a Florida Corporation with a principal place of

business in Boca Raton, Florida.

       9.       Member GEO Corrections Holdings, Inc. is a Florida Corporation with a principal

place of business in Boca Raton, Florida.

       10.      Defendant GEO Corrections and Detentions, LLC, now known as GEO Secure

Services, LLC, is a Florida limited liability company with a principal place of business at 4955

Technology Way, Boca Raton, FL 33431and is thus a citizen of Florida for the purposes of 28

U.S.C. §1332.

       11.      Defendant, GEO Corrections and Detentions, LLC, now known as GEO Reentry

Services, LLC, has two members, GEO Operations, Inc. and GEO Corrections Holdings, Inc.

       12.      Member GEO Operations, Inc. is a Florida Corporation with a principal place of

business in Boca Raton, Florida.



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         Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 7 of 32




       13.      Member GEO Corrections Holdings, Inc. is a Florida Corporation with a principal

place of business in Boca Raton, Florida.

       14.      Thus, both Defendants GEO Reentry Services, LLC and GEO Corrections and

Detentions, LLC, now known as GEO Secure Services, LLC have the same members, and none

are citizens of Pennsylvania, but rather are incorporated and have principal places of business in

the State of Florida.

       15.      Upon information and belief, Plaintiff’s Complaint seeks damages in excess of

$75,000 based upon the injuries alleged and thus, the amount in controversy is in excess of the

jurisdictional amount for diversity jurisdiction.

       16.      There is diversity of citizenship between Plaintiff and Defendants; therefore, this

Court has jurisdiction over this matter through federal diversity jurisdiction, pursuant to 28

U.S.C. §1332.

       WHEREFORE, Defendant hereby gives notice of removal of the above action now

pending in the Court of Common Pleas of Philadelphia County, Pennsylvania to the United

States District Court for the Eastern District of Pennsylvania. This action will proceed in this

Court as an action properly removed thereto.

                                                        Respectfully Submitted,
                                                        DiORIO & SERENI, LLP

DATE: June 7, 2022                             BY:      /s/ Robert M. DiOrio
                                                        ROBERT M. DIORIO, ESQ.
                                                        Attorney ID No.: 17838

                                                        /s/ Matthew H. Fry
                                                        MATTHEW H. FRY, ESQ.
                                                        Attorney ID No.: 83131
                                                        DiOrio & Sereni LLP
                                                        P.O. Box 1789
                                                        Media, PA 19063
                                                        (610) 565-5700 (telephone)
                                                        (610) 891-0652 (facsimile)

                                                    4
Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 8 of 32




EXHIBIT “A”
Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 9 of 32
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Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 25 of 32




EXHIBIT “B”
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        Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 31 of 32




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MUTATIE JOHNSON                             :
Philadelphia, PA                            :
                         Plaintiff,         :
                                            :   No.:
v.                                          :
                                            :
THE GEO GROUP, INC.                         :
621 NW 53rd Street, Suite 700               :   NOTICE OF REMOVAL
Boca Raton, FL 33487                        :
                                            :
        and                                 :
                                            :
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621 NW 53rd Street, Suite 700               :
Boca Raton, FL 33487                        :
                                            :
       and                                  :
                                            :
GEO CORRECTIONS AND                         :
DETENTIONS, LLC                             :
621 NW 53rd Street, Suite 700               :
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                                            :
        and                                 :
                                            :
GEO CORRECTIONAL HOLDINGS, INC.             :
4955 Technology Way                         :
Boca Raton, FL 33431                        :
                                            :
        and                                 :
                                            :
                                            :
COMMUNITY EDUCATION CENTERS,                :
INC.                                        :
4955 Technology Way                         :
Boca Raton, FL 33431                        :
                                            :
      and                                   :
         Case 2:22-cv-02224-MMB Document 1 Filed 06/07/22 Page 32 of 32




JOHN DOE CORRECTIONAL                        :
OFFICERS                                     :
500 Cheyney Road                             :
Chester Heights, PA                          :
                          Defendants.        :
______________________________________________________________________________

                                  CERTIFICATE OF SERVICE

       We, Robert M. DiOrio and Matthew H. Fry, attorneys for Defendants, hereby certify that
a true and correct copy of the foregoing Notice of Removal was filed electronically via the
Court’s Electronic system on the date below and is available for viewing and download by all
counsel of record.
 Kevin V. Mincey, Esquire                           Prothonotary
 Mincey Fitzpatrick Ross, LLC                       Court of Common Pleas of Philadelphia
 1650 Market Street, 36th Floor                     County
 Philadelphia, PA 19103                             City Hall, Room 278
                                                    Philadelphia, PA 19107
 via first class mail
                                                    via e-filing system

                                                      Respectfully Submitted,
                                                      DiORIO & SERENI, LLP

DATE: June 7, 2022                           BY:      /s/ Robert M. DiOrio
                                                      ROBERT M. DIORIO, ESQ.
                                                      Attorney ID No.: 17838

                                                      /s/ Matthew H. Fry
                                                      MATTHEW H. FRY, ESQ.
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